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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
MINGHAO YANG,

                Plaintiff,
                                                 Case No.: 19-cv-4473 (DLI)(PK)
         -against-
                                                NOTICE OF APPEARANCE

WU RESTAURANT LLC and
YIJING WANG

                Defendants.


                PLEASE TAKE NOTICE, that Michael Taubenfeld, attorney for the law firm

Fisher Taubenfeld LLP, hereby appears in the above-captioned action on behalf of Defendants

and demands that all papers in this action be served upon the undersigned at the address stated

below.

DATED: October 17, 2019
       New York, New York
                                           Respectfully submitted,

                                           ____________/s/________________
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